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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                               MIDLAND-ODESSA DIVISION

 LINDA D. ROBINSON,                               §
                                                  §
      Plaintiff,                                  §
                                                  §        CASE NO. 7:18-CV-00130-DC
 v.                                               §
                                                  §
                                                  §
 CLIENT SERVICES, INC.,                           §
                                                  §
      Defendant.


       DEFENDANT CLIENT SERVICES, INC.’S REPLY TO PLAINTIFF’S
       RESPONSE TO DEFENDANT’S AMENDED MOTION TO DISMISS


        COMES NOW, Defendant CLIENT SERVICES, INC. (“CSI” or “Defendant”)

and files its Reply to Plaintiff’s Response to Defendant’s Amended Motion to Dismiss

Under Federal Rule of Civil Procedure 12(b)(6) as follows:

                                      INTRODUCTION

        1.         The Fifth Circuit recognizes the dual purpose of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”)—enacted to target debt

collectors who practice “deceptive debt collection practices”, while at the same time,

“protecting debt collectors against liability for bizarre or idiosyncratic consumer

interpretations of collection materials.” Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir.

2009) (Taylor v. Perrin, Landry, deLaunay Durand, 103 F.3d 1232, 1236 (5th Cir.

1997)).




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       2.       Without a strained interpretation, the language of CSI’s letter to

Plaintiff is clear:

       Balance Due at Charge-Off:         $5,967.23
       Interest:                          $0.00
       Other Charges:                     $0.00
       Payments Made:                     $0.00
       Current Balance:                   $5,967.23

(Doc. 1 at 3) (emphasis in original). The letter clearly indicates that the balance does

not include interest or other charges. Furthermore, the debt would never accrue

interest or other charges because it is static (Doc. 1 at 5 (“such additional charges

were not authorized by the agreement creating the subject debt”)). In fact, Plaintiff

admits and accepts that no interest or other charges were accruing or could accrue on

the debt (Doc. 1 at 5; Doc. 9 at 2; Doc. 14 at 2).

       3.       Despite the clear language of the letter and despite her acceptance that

CSI never intended to add any fees or collection costs on the debt, Plaintiff continues

to press this Court to accept a labored reading of the letter—the very kind of practice

from which courts have worked to protect debt collectors. Easterling v. Collecto, Inc.,

692 F.3d 229, 234 (2d Cir. 2012) (noting that “courts should apply the [least

sophisticated consumer] standard ‘in a manner that protects debt collectors against

liability for unreasonable misinterpretations of collection notices’”).

                            ARGUMENT & AUTHORITIES

       4.       Plaintiff’s FDPCA and Texas Debt Collection Act, Tex. Fin. Code Ann.

§ 392.001, et seq. (“TDCA”) claims fail to raise a claim upon which relief can be

granted. As such, CSI respectfully requests that this Court dismiss Plaintiff’s claims.




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A.     Plaintiff provides an incorrect analysis of the recently decided Duarte
       matter.

       5.       Plaintiff asserts that CSI “blatantly omits one of the most recent and

decisive opinions on this precise issue” by failing to bring the Duarte opinion to the

Court’s attention. (Doc 14 at 2); Duarte v. Client Services, Inc., 1:18-cv-01227 (N.D.

Ill. Mar. 29, 2019). This statement is simply inaccurate. The Duarte Court partially

denied CSI’s Motion Judgment on the Pleadings based on a completely different fact

pattern than the fact pattern at play in this matter.

       6.       In the present matter, there is only one letter at issue that Plaintiff

complains of in her Complaint. (Doc. 13-1). In Duarte, there are two letters at issue.

The first letter is identical to the letter at issue in this matter, and the Duarte Court

refers to the second letter as an “Account Resolution Offer.” Plaintiff has chosen to

omit the fact that the Duarte Court denied CSI’s Motion for Judgment on the

Pleadings specifically because of this second letter.

       7.       In Duarte, the court clearly states why is denies CSI’s Motion for

Judgment on the Pleadings:

       While CSI points to the Account Resolution Offer [i.e. the second
       letter], which states that no interest would be added to plaintiff’s
       account during the collection efforts, the First Letter and related
       Account Resolution Offer make no mention of other charges being
       added to her alleged debt during the collection process?

(Id.) (emphasis in original). Because the second letter specifically mentioned that no

interest was accruing but was silent on other charges, the Duarte Court held that CSI

could not prevail on its Motion for Judgment on the Pleadings regarding Plaintiff

“other charges” claim only. (Id.).



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       8.       Plaintiff’s reliance on Duarte in the present matter is misleading. The

facts of the two cases are not the same, the ruling in Duarte was made based on facts

that are not at play in the present matter. This case is much more like Delgado v.

Client Service, Inc., No. 17-cv-4364, 2018 WL 1193741 (N.D. Ill. Mar, 7, 2018). Both

Delgado and the present matter dealt with a single, identical letter. In Delgado, the

court found that “[t]here is no indication in the Letter that the balance is subject to

increase.” The same is true here. (Doc. 13-1).

B.     The FDCPA does               not   adhere    to   bizarre    or   idiosyncratic
       interpretations.

       9.       “The FDCPA was passed to protect consumers from deceptive or

harassing actions taken by debt collectors.” Kropelnicki v. Siegel, 290 F.3d 118,

127 (2d Cir. 2002).        In explaining the need for the FDCPA, Congress highlighted

truly egregious collection practices, including the “use of obscene or profane language,

threats of violence, telephone calls at unreasonable hours, misrepresentation of a

consumer's legal rights, disclosing a consumer's personal affairs to friends, neighbors,

or an employer, obtaining information about a consumer through false pretense,

impersonating public officials and attorneys, and simulating legal process.” Id.

(internal quotations omitted).

       10.      Unsurprisingly, courts, including the Fifth Circuit, have recognized that

the FDCPA serves a dual purpose: on the one hand, to target debt collectors who

practice “deceptive debt collection practices”, while on the other hand, to “protect[]

debt collectors against liability for bizarre or idiosyncratic consumer interpretations

of collection materials.” Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009) (Taylor v.



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Perrin, Landry, deLaunay Durand, 103 F.3d 1232, 1236 (5th Cir. 1997)). It is clear

that courts throughout the nation aim not only to protect consumers but also debt

collectors from unreasonable misinterpretations of collection notices. Easterling v.

Collecto, Inc., 692 F.3d 229, 234 (2d Cir. 2012) (noting that “courts should apply the

[least sophisticated consumer] standard ‘in a manner that protects debt collectors

against liability for unreasonable misinterpretations of collection notices’”).

       11.     Similarly, the FDCPA does not require a debt collector to note that an

amount will not increase.      In fact, courts addressing similar letter cases have

explicitly ruled against such perverse interpretation of the FDCPA:

       It is hard to see how or where the FDCPA imposes a duty on debt
       collectors to encourage consumers to delay repayment of their debts. And
       requiring debt collectors to draw attention to the fact that a previously
       dynamic debt is now static might even create a perverse incentive for
       them to continue accruing interest or fees on debts when they might not
       otherwise do so. Construing the FDCPA in light of its consumer
       protection purpose, we hold that a collection notice that fails to disclose
       that interest and fees are not currently accruing on a debt is not
       misleading within the meaning of Section 1692e.

Taylor, 886 F.3d at 214; see also Delgado v. Client Services, Inc., Case No-17-c-4364,

2018 WL 1193741 (N.D. Ill. Mar. 7, 2018) (“Debt collectors would be damned if they

do and damned if they don’t. This is clearly not what Congress intended the FDCPA

to do - essentially turn debt collectors into a modern-day version of Goldie Locks, who

cast about searching for the letter that is just right, not listing too little information

or too much.”); Dick v. Enhanced Recovery Co., No. 15-CV-2631 (RRM) (SMG), 2016

WL 5678556 (E.D.N.Y. Sept. 28, 2016) (emphasis in original) (“there is no

requirement that every statement in a debt collection notice include an extra

assurance that the fact stated will not change in the future”).


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C.     The Second          Circuit’s   Taylor   Opinion    and    Rationale    Remain
       Instructive.

       12.     Plaintiff’s interpretation and application of the Second Circuit’s Taylor

opinion is merely a partial interpretation and application of Taylor (see Doc. 9 at 9–

10). To reach its conclusion, the Second Circuit explicated detailed analysis of the

least sophisticated consumer standard as well as its application to alleged

deceptiveness of collection letters that do not incur interest.

       13.     Even though it did not directly address the issue of a collection letter

that includes an itemization of interest as “zero” dollars, the Second Circuit’s opinion

remains applicable due to the analogous nature of the debts, the harm alleged, and

the Second Circuit’s interpretation of the FDCPA as it concerns duties imposed upon

debt collectors. Both Plaintiff’s debt and the debts at issue in Taylor involved static

debts that did not accrue interest or other charges. Taylor, 886 F.3d at 213; (see Doc.

1 at 4–7). Both Plaintiff and the Taylor plaintiffs allege a hypothetical harm that “a

consumer might suffer by mistakenly believing that interest or fees are accruing on

a debt is being led to think that there is a financial benefit to making repayment

sooner rather than later.” Taylor, 886 F.3d at 214; (see Doc. 1 at 4–5). The Second

Circuit specifically recognized that a harm in which the worst that might befall the

Taylor consumer is that he wrongly believes “that there is a financial benefit to

making repayment sooner rather than later. This supposed harm falls short of the

obvious danger facing consumers in Avila.” Taylor, 886 F.3d at 214. This is the exact

harm that Plaintiff alleges through CSI’s letter (Doc. 1) and the exact harms that fall




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short of the danger facing consumers and that the FDCPA intended to prevent. See

Taylor, 886 F.3d at 214.

       14.     To reemphasize the Second Circuit’s interpretation of the FDCPA and

the duties it may impose on debt collectors: the Second Circuit’s Taylor opinion made

it clear that (1) a collection notice is not required to disclose that interest and fees are

not accruing when they are not accruing, and (2) that the FDCPA does not impose a

duty to encourage consumers to delay repayment of their debts. Taylor, 886 F.3d at

214.

       15.     In the present case, CSI’s letter is clear: the letter discloses to Plaintiff

an itemization of what is and what is not included in the total amount due; the letter

clearly indicates that no interest is charged; the letter clearly indicates that no other

charges are included. Despite such clear terms, Plaintiff argues that the itemization

of interest and other charges made the letter less, rather than more, clear. Adopting

Plaintiff’s reading of the letter and application of the FDCPA would require debt

collectors to include specific language that encourage consumers to delay repayment

of their debts—the exact interpretation of the FDCPA with which the Second Circuit

disagrees.

D.     The cases cited by CSI are analogous to the present case.

       16.     Additionally, Plaintiff strains to distinguish Hussain from the present

case. As even Plaintiff recognizes, letters at issue in Hussain and in the present case

are similar—both include an itemization of interest totaling $0.00 (Doc. 9 at 10 (“the

collection letter in Hussain did include a representation that the ‘total of interest post




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charge-off’ and ‘total of non interest post charge off’ totaled $0.00 respectively”)).

Plaintiff attempts to distinguish Hussain by stressing the focus of the allegation—

specifically that in Hussain, the allegation concerns “whether it is a per se violation

of the FDCPA to fail to mention whether interest is accruing”, while in the present

case, the allegation concerns whether the itemization of interest totaling $0.00, is a

violation of the FDCPA (Doc. 9 at 10–11).

       17.     The facts and allegations made in Hussain and in the present case are

analogous. (Compare Doc. 1 to Hussain v. Alltran Financial, LP, et al., No. 17-cv-

3571-ARR-CP (E.D.N.Y. April 4, 2018)). Both involved static debts. Id. Both letters

included the correct balance. Id. Both letters included an itemization of interest. Id.

Both letters indicated that the interest was zero. Id. Both allegations concern the

supposed misleading nature of the letter. Id. Both allegations concern the issue of

whether interest might accrue in the future. Id. Both allegations require the absence

of any sort of additional clarifying language. Id. In fact, Plaintiff too recognized the

importance of the absence of clarifying language (Doc. 4 at 4 (emphasis added) (“By

including [‘interest’ and ‘other charges’] references, absent any sort of additional

information, Defendant intended to instill a deceptive and false sense of urgency.”)).

       18.     Plaintiff further admits that Delgado is analogous to the present case

and attempts to mitigate its influence by noting that the district court’s decision is

pending appeal. Addressing the near identical letter sent by CSI in Delgado, the

federal district court dismissed Plaintiff’s § 1692e claim:

       The language in the Letter is clear. It displays the amount due at the
       top, and includes an itemization in the body of the letter, including



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       “Interest: 0.00” and “Other Charges: 0.00.” Rather than making a false,
       misleading, or deceptive statement, the letter sets forth the amount due
       and provides an accounting of that amount, making it explicit that no
       part of the amount due includes interest or other charges.

       ...

       Consideration of the Letter as a whole reinforces the fact that it is not
       misleading. There is no suggestion that the amount due will change if
       the balance is not paid within a certain period of time and no other
       mention of interest and other charges.

       ...

       Ultimately, the Letter is clear. Delgado does not allege that listing
       interest and other fees as zero was inaccurate. On the contrary, he
       alleges that “no interest was due to be assessed on the alleged debt, nor
       were any other charges.” This is exactly what the Letter reflected. The
       FDCPA does not require Client Services to note that an amount will not
       increase; “there is no requirement that every statement in a debt
       collection notice include an extra assurance that the fact stated will not
       change in the future.”

Delgado, No. 17-C-4364 (internal citations omitted) (quoting Dicks v. Enhanced

Recovery Co., No. 15-cv-2631 (RRM) (SMG), 2016 WL 5678556 (E.D.N.Y. Sept. 28,

2016)).

       19.     Taylor, Hussain, and Delgado all provide clear framework for this Court

to rule upon CSI’s letter and it clearly leaves this Court with a single conclusion:

CSI’s letter is clear. No interest or other charges was included in the balance due.

CSI’s letter reflects exactly that. Consequently, this Court should dismiss Plaintiff’s

claims as a matter of law.

E.     The cases relied        upon    by   Plaintiff   are   distinguishable       and
       unpersuasive.

       20.     Besides Duarte, which Plaintiff misconstrues, Plaintiff cites two

unpublished federal district court cases in the Seventh Circuit to support her position


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that CSI’s letter is deceptive (Doc. 9 at 6–8). Both cases, however, are distinguishable

from the present case. In Tylke, the letter at issue included a single statement, “The

above balance due includes a Verizon Wireless Collection Fee of $0.00” Tylke, at *1

(emphasis added). By contrast, CSI’s letter includes an itemization of the total

amount due. And, the Delgado Court distinguished this fact:

       An independent sentence stating that the balance “includes” a collection
       fee could potentially imply to an unsophisticated consumer that one will
       be included, even if the collection fee at that time is zero. On the other
       hand, an itemization accounts for what is and is not included in a total
       balance. An itemization of zero shows that the balance due does not
       include interest or other charges, rather than showing what is included
       in the balance, which is what distinguishes this situation from Tylke.

Delgado, No. 17-C-4364.

       21.     In the present case, CSI’s letter is clear—it discloses to Plaintiff an

itemization of what is and what is not included in the total amount due, the letter

clearly indicates that no interest is charged, and the letter clearly indicates that no

other charges are added.

       22.     Admittedly, Wood v. Allied Interstate, LLC departs from the conclusion

reached by Delgado. See Wood v. Allied Interstate, LLC, No. 1:17-cv-04921 (N.D. Ill.

June 13, 2018). The Wood court, however, departed from the reasoning adopted not

only by Delgado but also by other federal district court cases. Id.; cf Jones v.

Professional Finance Co., Inc., 2017 WL 6033547 (S.D. Fla. Dec. 4, 2017); Dick v.

Enhanced Recovery Co., 2016 WL 5678556 (E.D.N.Y. Sept. 28, 2016); Hussain v.

Alltran Financial, LP, et al., No. 17-cv-3571-ARR-CP (E.D.N.Y. April 4, 2018).

Moreover, the Wood court did not identify any case which undertook a similar

departure. See generally Wood, No. 1:17-cv-04921.


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       23.     If CSI’s letter sent to Plaintiff is found to be misleading or deceptive

“[d]ebt collectors would be damned if they do and damned if they don't.” Delgado, No.

17-C-4364.      As the court is Delgado recognized a bizarre and idiosyncratic

interpretation of collection letters such as the one proposed by Plaintiff would

“essentially turn debt collectors into a modern-day version of Goldie Locks, who cast

about searching for the letter that is just right, not listing too little information or too

much.” Id.

       24.     The purpose of the FDCPA is simply to regulate collection activity, not

to ban it completely. The FDCPA was enacted to target debt collectors who harass,

oppress, mislead, and intend to victimize the least sophisticated consumer. The

labored reading of the letter that Plaintiff seeks is exactly the kind of practice that

courts have worked to protect debt collectors from.

F.     Plaintiff’s 15 U.S.C. § 1692f and Tex. Fin. Code Ann. § 392.304 claims
       should be dismissed because they fail to identify misconduct beyond
       that which gas already been identified in Plaintiff’s § 1692e claim.

       25.     Plaintiff alleges that CSI failed to address Plaintiff’s claim under 15

U.S.C. § 1692f, CSI did not fail to address Plaintiff’s § 1692f claim.           Plaintiff’s

assertion is predicated on the assertion that Plaintiff brings different claims under

§§ 1692 e and f. However, this is untrue. Rather, Plaintiffs § 1692e claim is his §

1692f claim. And, courts have made clear that a complaint is deemed deficient under

§ 1692f if it fails to identify misconduct beyond that which a plaintiff asserts in its

other FDCPA claims. Fath v. BAC Home Loans, 2013 U.S. Dist. LEXIS 89075, at *34

(N.D. Tex. Apr. 26, 2013).




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       26.     Plaintiff’s entire § 1692f claim concerns the alleged misleading nature

of CSI’s letter through its reference to “interest” and “other charges” (Doc. 1 at 5).

This is the same alleged misconduct Plaintiff bases her other FDCPA claim (see Doc.

1 at 4 (§ 1692e claim based upon the alleged misleading nature of CSI’s letter through

its reference to “interest” and “other charges”). Accordingly, Plaintiff’s § 1692f claim

should be dismissed.

       27.     Similarly, Plaintiff’s entire TDCA claim concerns the same alleged

misleading nature of CSI’s letter, which Plaintiff alleges as her § 1692e claim (see

Doc. 1, at 6–7). Consequently, for the same reasons shown that Plaintiff’s § 1692e

claims fail as a matter of law, this Court should dismiss Plaintiff’s TDCA claim.

                                     CONCLUSION

       28.     This Court stated that it could not properly rule on CSI’s Motion to

Dismiss without viewing the letter at issue. (Doc. 12 at 5). After review, “the letter

is clear . . . there is no indication in the Letter that the balance is subject to increase.”

(Id.); Delgado, No. 17-cv-4364, 2018 WL 1193741, at *4.

       WHEREFORE, PREMISES CONSIDERED, Defendant CLIENT SERVICES,

INC. requests this Court grant its Amended Motion to Dismiss in its entirety and

dismiss Plaintiff’s claims with prejudice.




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Date: May 6, 2019                      Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document has

been forwarded to Plaintiff’s counsel via CM/ECF on this 6th day of May, 2019 to:

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